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IN THE UNITED sTATEs DIsTRICT COURT Hi="”…“-~

FoR THE wEsTERN DISTRICT oF TENNESSEE,_ j
wEsTERN DIVISION §§)MEZ"J’ 31 F>H 3: 114
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ssi CT.

 

UNITED STATES OF AMERICA, "Q MEM$HB
Plaintiff,

vs. Cr. No. 04-20266-D

MARVIN JACKSON,

Defendant .

 

ORDER

 

It is hereby Ordered that the Change of Plea Hearing in the

above captioned matter is continued until the \3@¢£ day of

___-r_'

ane , 2005 at {/-'/F _a_._rg./.p_m».

Thus Ordered this é/ 5" day of 22©/_- , 2005 at

Memphis, Tennessee.

 

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This notice confirms a copy of the document docketed as number 75 in
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Honorable Bernice Donald
US DISTRICT COURT

